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REVISED LAWS

OF

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1935

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Comprising, the Statutes of the Territory,
consolidated, revised and annotated.

PUBLISHED BY AUTHORITY.

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Chs. 80, 81.
FIREARMS AND AMMUNITION, Secs, 2530-2582, 2540-2541,

Sec. 2530. Number on vehicle; badge. The owner of a licensed vehicle
shall continuously exhibit in a conspienoua place on every such vehicle, the
aumber of the license issued for such vehicle. Every licensed driver shall wear,
while employed, a badge which shall be supplied by the treasurer at cost,
showing his number, [L. 1896, o. 64, 8. 100; R. L. 1925, s, 2107.]

Sec. 2531. Number of passengers. No licensed vehicle shall convey at any
one time a greater number of passengers than the capacity enumerated in its
license. [L. 1896, 0. 64, 8. 101; R. Js. 1925, 8. 2108.]

Seo, 2692. Penalties. Any person who shall convey any passenger or
freight for hire in any unlicensed vehicle, or who shall allow on unlicensed
vehicle owned by him to be used for such purposes, or who, having a license,
shall use any vehicle, harness or enimal which is not in good and serviceable
condition, or who shall drive a licensed vehicle without a driver's license, or
who shali knowingly allow a licensed vehicle owned by him to be driven for
hire by an unlicensed person, or who shall violate or fail to observe any of the

requirements of sections 2527 to 2532, inclusive, shall be fined not more than —

twenty-five dollars for each violation and the license of any licensed velicle

or driver may, in the discretion of the court, be canceled. [L, 1896, c. 64, aas., srZ3
s. 103; am. L. 1907, c, 13, s. 2; am. L. 1915, c. 70, 5.1; R. L. 1935, s. 2110; am. v.

imp. L. 1932, 2d, c. 66, 8. 15.]

CHAPTER 81. FIREARMS AND AMMUNITION.*

Sec, 2540. Definitions. As uscd in this chapter: ‘'Firearm’’ means any
weapon, the operating foree of which is an explosive. This definition includes
pistols, revolvers, rifles, shotguns, machine guns, automatic rifles, noxious gas
projectors, mortars, bombs, cannon and sub-machine guns. The specific men-
tion herein of certain weapons does not exclude from the definition other
weapons operated by explosives.

‘Crime of violence’? means any of the following crimes, namely: murder,
manslaughter, rape, kidnapping, robbery, burglary, and those certain crimes
set forth in sections 5653 and 5654,

‘*Pistol’’ or ‘revolver’? meons any firearm of any ahapo whatsoever with
barrel less than twolve inches in length and capable of discharging loaded
ammunition or any noxious gas. [Ju. 1938-4, ¢. 26, 8. 2.}

Sec. 2541. Registration, mandatory. Every person residing or doing busi-
ness or temporarily sojourning within the Territory on January 9, 1984, who
possessed a firearm of any doscription, whether usable or unusable, sorviceable
or unserviceable, modern’ or antique, not already registered in the name of the
present poseessor, or who possessed ammunition of any Jcind or description, ex-
cept shotgun ammunition, shall, within ten days of that date, register the
same with the chief of police of the city and county of Honolulu or the sheriff
of the county, other than the city and county, wherein is his place of business,
or if there be no place of business, his residence, or if there be neither place of
business nor residence, his place of sojourn.

Every person arriving in the Territory, who brings with him firearms or
ammunition of any type and description, shall register the same in similar
manner within forty-eight hours after arrival.

The registretion shall be on such forms as may be designated by the bureau
of crime statistics and shall include a description of the class of firearm or
firearms and ammunition owned by him, or in his possession, together with
the name of the maker and the factory number, if mown or ascertainable, and
the source from which possession was obtained,

Within ten days after the end of each month the chief of police of the city
and county of Honolulu and the sheriffs of the several counties, other than the
city and county, shall furnish to the bureau of crime statistics duplicate copies
of all registrations made during the preceding month.

No fee shall be charged for such registration.

“Th i985, a. 26, 8. 16, partle! invalidity, omitted.

See a, 1202, ra reports of weunds coused by firsarms; see ¢. 199, homicide; c. 209, rapa: ¢€. 194,
kldnapping; ¢. 208, robhery; ¢. 168, burglary; 2, 5629, intent wheo crime committed while armed,

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Oh, 81.
Secs. 2542-2643. COUNTIES—GENERAL.

Any person who fails to comply with the provisions of this section shall be
punished by a fine of not more than two hundred and fifty dollars. [L. 1933-4,
c, 26, 8. 3.)

Soe ss, 6462-5465, bureau of crime stallstice.

Sec. 2542. Registration by transfer; permits to acquire; penalty. No
person shall take possession of any firearms of any description, whether usable
or unusable, serviceable or unserviceable, modern or antique, registered onder
prior law or unregistered, or of any ammunition of any Icind or description,
except shotgun ammunition, either through sale, gift, loan, bequest, or other-
wise, whether prooured in the Territory or imported by mail, express, freight,
or otherwise, until he shall first have procured from the chief of police of the
city aud county of Honolulu or the sheriff of the county, other than the city
and county, wherein is his place of business, or if there be no place of business,
his residence, or if there be neither place of business nor residence, his place of
sojourn, a permit to acquire as prescribed herein. The chief of police of the
city and county of Honolulu or the sheriffs of the several counties, other than
the city and county, are authorized, within their disoretion, to issue permits,

‘1 within their respeotive jurisdictions, to acquire rifles, pistols, and revolvers to

citizens of the United States, of the age of twenty years or more, and to duly
accredited official representatives of foreign nations. Permits to acquire ninmu- ~
nition for rifles, pistols and revolvers acquired prior to January 9, 1934, and
registered in accordance with the provisions of this chapter, may be granted
persons of the age of twenty years or more irrespective of citizenship. Permits
to acquire shotguns may be granted to persons of the age of sixteen years or
more, irrespective of citizenship.

Applications for such permits shall be signed by the applicant upon forms
to be specified by the bureau of crime statistics, and shall be signed by the
issuing authority. One copy of such permit shall be retained by the issuing
authority, as 2 permanent official record. Such permit shall be void uuless
used within ten days after the date of issue. In all cases where possession is
acquired from another person in the Territory the permit shall be signed in
ink by tho holder thereof and shall thereupon be delivered to and taken up by
the person selling, loaning, giving or delivering the firearm or ammunition,
who shall make entry thereon setting forth in the space provided therefor the
name of the person to whom the firearm or ammunition was delivered, and thé
make, style, caliber, and number, as applicable. He shall then sign it in ink
and cause it to be delivered or sent by registered mail to the issuing authority
within forty-cight hours. In case receipt of such firearms or ammunition is
had by mail, expresa, freight, or otherwise, from sources without the Territory,
the person to whom such permit has been issued, shall make the prescribed
entries thereon, signed in ink, and cause it to be delivered or sent by registered
mail to the issuing authority within forty-eight hours after taking possession
of the firearms or ammunition. No person shall sell, give, loan, or deliver into
the possession of another any firearm or ammunition except in accordance
with the provisions of this section.

Any person acquiring a firearm or ammunition under the provisons of this
section shall, within five days of acquisition, register some in the manner pre-
scribed by section 2541.

No fee shall be charged for pormits under this section.

Any person who violates eny provision of this section shall be punished by
a fine of not more than five hundred dollars or imprisonment for not more than
one year, or by both. (Iv. 1938-4, c. 26, s. 4.]

Sec. 2543. Possession by licensed hunters, Any person who has procured
a hunting license under the provisions of sections 2463-2468, inclusive, shall,
while actually engaged in hunting or while going to and from the place of
hunting, be authorized to carry and use any lawfully acquired rifle or shotgun
and suituble ammunition therefor, [L. 1983-4, ¢. 26, 5, 5.]
Sou ac. 2402-2168, fleuing end tating Iicenso.

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